Case 1:09-cv-00771-RJL Document 1-1 Filed 04/28/09 Page 1 of 2

CIVIL COVER SHEET :
(Rev 1/05 DC) R | L~
J t@ PLAINTIFFS DEFENDANTS

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
(EXCEPT IN U.S. PLAINTIFF CASES)

‘United States Food and Drug Administration, Joshua M Shartstetn, M D , Acting Commissioner for Food and '

for Food and Drugs, United States Department of '

+Drugs, gi t ner D

TAND INVAT VER

‘Kip Schwartz, Esq.
Thompson Hine LLP

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)

'1920 N Street, N.W., Suite 800
‘Washington, D.C. 20036
‘Phone: (202) 331-8800

Case: 1:09-cv-00771

Assigned To : Leon, Richard J.
Assign. Date : 4/28/2009

Description: TRO/PI .-

©

Plaintiff

Defendant

II. BASIS OF JURISDICTION
(PLACE AN x JN ONE BOX ONLY)

1 US Government

U.S Government

oO 3 Federal Question
(US Government Not a Party)

O 4 Diversity
(Indicate Citizenship of

Parties in item TIT)

Il] CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX
FOR PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

PTF DFT PTF DFT
Citizen of this State © 1 © 1 Incorporated or Principal Place oO 4 © 4
of Business in This State
Citizen of Another State oO 2 O 2 Incorporated and Principal Place © 5 © 5
of Business in Another State
Citizen or Subject of a oO 3 O 3
Foreign Country Foreign Nation oO 6 oO 6

tHealth and Human Serve. Charles E Johnson, Acting Secretary of the Department of Health and Human \
Services; Kathleen Sebelius, Secretary Designate for the Department of Health and Human Services 1
!

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
(IN U.S, PLAINTIFF CASES ONLY)
NOTE. IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place a X in one category, A-N, that best represents your cause of action and one in a co

ing Nature of Suit)

© A. Antitrust

© B. Personal Injury/

© C. Administrative Agency

(

C1 410 Antitrust [1] 310 Airptane

(J 340 Marine

Malpractice

[_] 315 Airplane Product Liability
[_] 320 Assault, Libel & Slander
{-] 330 Federal Employers Liability

=] 345 Marine Product Liability

[2] 350 Motor Vehicle

(__] 355 Motor Vehicle Product Liability
[7] 360 Other Personal Injury

(J 362 Medical Malpractice

[71 365 Product Liability

[J 368 Asbestos Product Liability (

Lad
Lod
CJ

CJ

Review

«

[-_] 151 Medicare Act

Social Security:
861 HIA ((1395ff)
862 Black Lung (923)
863 DIWC/DIWW (405(g)
{_] 864 SSID Title XVI
[] 865 RSI (405(g)
Other Statutes
{__] 891 Agricultural Acts
[] 892 Economic Stabilization Act
893 Environmental Matters
4 Energy Allocation Act
(3<] 890 Other Statutory Actions (If
Administrative Agency is Involved)

© D.)’Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category may

be selected for this category of case

assignment.

4(If Antitrust, then A governs)*

© E. General Civil (Other)

OR

© F. Pro Se General Civil

Real Property
210 Land Condemnation

220 Foreclosure
([]230 Rent, Lease & Ejectment
((]240 Torts to Land
(_]245 Tort Product Liability
(£-]290 All Other Real Property

Personal Property
(_]370 Other Fraud
(1371 Truth in Lending
(__]380 Other Personal Property Damage
[]385 Property Damage Product Liability

Bankrupte
I J 422 Appeal 28 USC 158

([] 423 Withdrawal 28 USC 157

Prisoner Petitions
535 Death Penalty
[] 540 Mandamus & Other
[71550 Civil Rights
((77555 Prison Condition

Property Rights
[J] 820 Copyrights
(] 830 Patent
[_] 840 Trademark

Federal Tax Suits
[J 870 Taxes (US plaintiff or

Forfeiture/Penal
([_] 610 Agriculture

((7] 620 Other Food & Drug

{__] 625 Drug Related Seizure
of Property 21 USC 881

[__] 630 Liquor Laws

(1640 RR & Truck

[]650 Airline Regs

[-] 660 Occupational
Safety/Health

(J 690 Other

Other Statutes

[_] 400 State Reapportionment
(] 430 Banks & Banking
(J 450 Commerce/ICC

defendant Rates/etc.
(J 871 IRS-Third Party 26 (1 460 Deportation
USC 7609

[_] 470
[7] 480
f] 490
[1] 810
fi] 850
(73875
[1] 900
[T1950
[_] 890

Racketeer Influenced &
Corrupt Organizations
Consumer Credit
Cable/Satellite TV

Selective Service
Securities/Commodities/
Exchange

Customer Challenge 12 USC
3410

Appeal of fee determination
under equal access to Justice
Constitutionality of State
Statutes

Other Statutory Actions (if
not administrative agency

review or Privacy Act

O
Case 1:09-cv-00771-RJL Document 1-1 Filed 04/28/09 Page 2 of 2

© G. Habeas Corpus/
2255

[] 530 Habeas Corpus-General
CC] 510 Motion/Vacate Sentence

© H. Employment
Discrimination

(_] 442 Civil Rights-Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability
age, religion, retaliation)

*(If pro se, select this deck)*

© I. FOIA/PRIVACY

ACT

[5 895 Freedom of Information Act
Cc) 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

© J. Student Loan

[_] 152 Recovery of Defaulted
Student Loans
(excluding veterans)

© XK. Labor/ERISA ©. L. Other Civil Rights |OQ  M. Contract ON. Three-Judge Court
(non-employment) (non-employment) (J 110 Insurance (J 441 Civil Rights-Voting
[__] 120 Marine (if Voting Rights Act)
(_] 710 Fair Labor Standards Act CC] 441 Voting (if not Voting Rights | [[_] 130 Miller Act
(_] 720 Labor/Mgmt. Relations Act) [] 140 Negotiable Instrument
[_] 730 Labor/Mgmt. Reporting & [_] 443 Housing/Accommodations (] 180 Recovery of Overpayment &
Disclosure Act 444 Welfare Enforcement of Judgment
CJ] 740 Labor Railway Act (1 440 Other Civil Rights [7] 153 Recovery of Overpayment of
(—] 790 Other Labor Litigation [J 445 American w/Disabilities- Veteran's Benefits
CI 791 Empl. Ret. Inc. Security Act Employment CJ 160 Stockholder’s Suits
Cl 446 Americans w/Disabilities- [7] 190 Other Contracts
Other {_] 195 Contract Product Liability
—_—s [7] 196 Franchise
V. ort IN
© original © 2Removed © 3Remanded from © 4Reinstated © STransferredfrom | © 6 Multidistrict (© 7 Appeal to
Proceeding from State Appellate Court or Reopened another district Litigation District Judge
Court (specify) from Mag. Judge

U.S.C. 1331; 28 U.S.C. 2201; 5 U.S.C. 706 -- Action for TRO and declaratory judgment regarding statutory authority to regulate E-cigarettes 4

é

VII. REQUESTED IN
COMPLAINT

CHECK IF THIS IS A CLASS
ACTION UNDER FRCP 23

! Check YES only if demqnded im colnplaint

YES o

VIII. RELATED CASE(S)
IF ANY

(See instruction)

yes [|

DATE April 27, 2009

SIGNATURE OF ATTORNEY OF RECORD

4

NY
If y9S, e comple ated caseform
Nd Ma —

INSTRUCTIONS FOR COMPLETING CIVIL ody ER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleadings or other papers as required by
law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the crvil docket sheet. Consequently a crvil cover sheet 1s submitted to the Clerk of Court for each civil complaint filed Listed below are tips
for completing the civil cover sheet These tips coincide with the Roman Numerals on the Cover Sheet

COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence. Use 11001 to indicate plaintiff is resident of

Washington, D C , 88888 if plaintiff is resident of the United States but not of Washington, DC , and 99999 if plaintiff is outside the United States.

CITIZENSHIP OF PRINCIPAL PARTIES: This section 1s completed only if diversity of citizenship was selected as the Basis of Jurisdiction under Section

CASE ASSIGNMENT AND NATURE OF SUIT’ The assignment of a judge to your case will depend on the category you select that best represents the

primary cause of action found in your complaint You may select only one category. You must also select one corresponding nature of suit found under

i.
Il
Iv.
the category of case
VI.
VII.

Office

CAUSE OF ACTION Cite the US Civil Statute under which you are filing and write a bnef statement of the primary cause

RELATED CASES, IF ANY If you indicated that there is a related case, you must complete a related case form, which may be obtained from the Clerk’s

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
